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 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   DAVID M. PORTER, Bar #127024
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Seeking Appointment as Attorney for Defendant
     EBONY L. PIPKINS
 6
 7
 8                         IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )        No. Cr. S 05-122 GEB
                                     )
12                  Plaintiff,       )        REQUEST FOR APPOINTMENT OF
                                     )        COUNSEL; [lodged] ORDER
13        v.                         )
                                     )        RETROACTIVE CRACK COCAINE
14   EBONY L. PIPKINS,               )        REDUCTION CASE
                                     )
15                  Defendant.       )
                                     )        Judge: Hon. GARLAND E. BURRELL
16   _______________________________ )
17        Pursuant to 18 U.S.C. §§ 3006A(c) and 3852(c)(2), Defendant, EBONY
18   L. PIPKINS, hereby requests the court appoint the Office of the Federal
19   Defender and Assistant Federal Defender David M. Porter as counsel to
20   represent her with respect to her motions to reduce sentence pursuant
21   to 18 U.S.C. § 3582(c)(2), filed October 31, 2007 and March 10, 2008.
22   Mr. Porter is familiar with the case and is willing to accept the
23   appointment.*
24        Appointment of counsel would serve the interests of justice in
25   this case because it might facilitate a negotiated disposition of the
26   motion and because the motion might raise novel legal issues
27
          *
            Ms. Pipkins has authorized the undersigned to file this
28   application on her behalf.
              Case 2:05-cr-00122-DC Document 90 Filed 03/27/08 Page 2 of 2


 1   surrounding application of the United States Sentencing Commission’s
 2   recent retroactive reduction of sentences under the crack cocaine
 3   guidelines.    Because Ms. Pipkins’s substantial rights may be affected
 4   by these criminal proceedings, she is constitutionally entitled to
 5   appointment of counsel.       Mempa v. Rhay, 389 U.S. 128, 134 (1967).
 6        Accordingly, Ms. Pipkins requests the Court issue the order lodged
 7   herewith.
 8   Dated:    March 26, 2008
 9                                 Respectfully submitted,
10                                 DANIEL J. BRODERICK
                                   Federal Defender
11
12                                   /s/ David M. Porter
                                   DAVID M. PORTER
13                                 Assistant Federal Defender
14                                 Seeking Appointment as Attorney for Movant
                                   EBONY L. PIPKINS
15
16
                                          O R D E R
17
          Pursuant to defendant’s request, and good cause appearing
18
     therefor, the Office of the Federal Defender and Assistant Federal
19
     David M. Porter is hereby appointed to represent defendant with respect
20
     to her motion to reduce sentence.
21
22   Dated:    March 26, 2008

23
24                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
25
26
27
28

     REQUEST TO APPOINT COUNSEL
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